          Case 1:20-cv-07311-LAK Document 43 Filed 11/16/20 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,

                                Plaintiff,
                                                          Case No. 1:20-cv-7311 (LAK)
                    v.
                                                        CERTIFICATE OF SERVICE
 DONALD J. TRUMP,
 in his personal capacity,

                                Defendant.



       I hereby certify that on November 13, 2020, I caused service of the Court’s Order re

Scheduling and Initial Pretrial Conference (ECF 41), dated November 11, 2020, to be made on

Defendant Donald J. Trump, in his personal capacity, by electronic mail at the address of his

attorneys listed below. I further certify that on November 14, 2020, I caused service of the same

Order to be made on Defendant Donald J. Trump, in his personal capacity, by Federal Express

overnight delivery service at the address of his attorneys listed below:

                                       Kasowitz Benson Torres LLP
                                       c/o Marc Kasowitz
                                       Paul Burgo
                                       Christine Montenegro
                                       1633 Broadway
                                       New York, NY 10019
                                       mkasowitz@kasowitz.com
                                       pburgo@kasowitz.com
                                       cmontenegro@kasowitz.com


Dated: Washington, DC
       November 16, 2020
                                                             /s/ Joshua Matz
                                                             Joshua Matz
